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EXHIBIT "A"

 

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IN THE SUPERIOR COURT OF TIFT COUNTY
’ STATE OF GEORGIA

YVONNE TINIE STRINGFIELD,"Individually and :
as Administrator of the Estate of MARY MARSH
Judy Jones, Lisa Jones and Walter ’I`v Marsh,

Plaimiffs, ' § CIVIL ACTI©N
' : FILE l\JUl\/H_J,ERr;z O [[ & 1539 55
VS. 1
GGNSC TIFTON, LLC; GOLDEN LIVING .~ plng \N OFF,CE
INC., and XYZ ENTITY d/b/a GOLDEN '
LIVING cENTER TIFTON, ‘ ; DEC 14 2011
Defendants. : GWEN PATE£’ §§ Cou§g
C‘OMPLAINT FOR DAMAGES

 

COME NOW YVONNE TINIE STRINGFIELD, Individually and as
Administrator of the Estate of MAi{Y MARSH, Judy Jones,'l;|isa Jones and Walter T.
Marsh, Plaintiffs in the above-styled matter, and tile this, their,Complaint for Damages
against Defendants GGNSC TIFTON, LLC; GOLDEN LIVING, INC., and XYZ ENTITY_

d/b`/a GOLDEN LIVING cENTER TIFTON and respectfully Show m the com as

follows:.
1.
Plaintiff YVONNE TINIE S'I`RINGFIELD, Individually and as Administrator of
the Estate of MARY MARSH, is a resident of Tift County, Georgia
2.
Judy Jones', Lisa Jones and Walter T. Marsh are the Children of Mal"y Marsh.
3. ` '

Defendant GGNSC TIFTON, LLC (hereaher referred to as “GGNSC”) is a foreign

 

 

 

 

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limited liability company authorized to transact business in'the State of Georgia and is
subject to the jurisdiction of this court
4.
'Defendant GOLDEN LIVING, INC. is a corporation organized and existing under

the laws of the State of Georgia and Subject to the jurisdiction of this Court.

5.

b XYZ ENTITY d/b/a GOLDEN LIVING CENTER TIFTON (“XYZ”) is an entity,
the formal identity of which is,"~;\despite Plaintit`f` s best attempts, unknown. c Defendant XYZ
owns and/or operates the facility commonly known as Golden Living Center, located at
1451 Newton Drive, Tii°con, Georgia.

6'.
Defendant GGNSC may be served by delivering a Summons and a copy of this

Cornplaint to its Registered Agent, Corporation Service Cornpany, 40 Technology Parkway

 

South # 300, Norcross, Georgia 30092.
v 7.

Defendant GOLDEN LIVING, INC. may be served by delivering a Surmnons and a
copy of this Cornplaint to its Registered Agent, Anson Pryor, 87 Southern Golf Court,
Fayetteville, GA 30215.

8.

Jurisdiction and venue are proper in this Court.

 

 

 

 

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9.
At all times material hereto Mary Ma.rsh Was a patient and/or resident at the facility
known as GGLDEN LIVING CENTER in Tifton, Georgia.
10.

At all times material hereto, one or more of the Defendants owned and/or operated a

 

facility known as GOLDEN LIVING CENTER, located at 1451 Newton Drive, Tii°ton,
Georgia.
ll.

At all times material":hereto, the nurses and other medical providers and/or
personnel who rendered care to MARY MARSH were acting individually and/or as actual
and/or apparent agents and/or employees of one or more of the Defendants. At all times
material hereto, those persons Were acting within the course and scope of such
employment and/or agency, With respect to the medical care rendered or caused to be
rendered to MARY MARSH, and, as such, their actions and/or omissions are imputed to
one or more of the Defendants under the doctrines of agency and I.

12.

This is an action for medical malpractice To the extent that an affidavit is
required, Plaintiff attaches hereto the Aftidavit of Vickie Gibbs, R.N.,' Which complies
with Ofticial Code of Georaia Annotated, Section 9~l l~9-l.

' 13.

MARY MARSH Was admitted to the facility commonly known as Golden Living

Center located at 1451 Newton Drive in Titton, Georgia.

 

 

 

 

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14.

The employees and/or agents of the Defendants failed to properly care for MARY
MARSH.

15.

Defendants individually and/or by and through their respective agents and/or
employees deviated from the standard of care with regards to the care rendered to MARY
MARSH.

l6.

In the course of providing treatment to MARY MA RSH, Defendants were negligent
and failed to exercise the reduisite degree of care, diligence and skill in caring for Plaintiff
MARY MARSH.

l7.

As a direct and proximate result of Defendants’ negligence, MARY MARSH
developed, among other medical complications and conditions, multiple decubitus ulcers
and endured severe pain, suffering, anguish, shocl<, worry, and death.

18.

Defendants’ level of misconduct is such that punitive damages are warranted
under Offlcial Code of Georgia Annotated, Section 51-12~5.1. Specitically, Defendants’
conduct evidences willful misconduct, malice, fraud, wantonness, oppression, or that

entire want of care which could raise the presumption of conscious indifference to

 

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19.

As a direct and proximate result of actions, omissions, and violations of the duties
and standards set out herein, and the procedures performed on MARY MARSH by
Defendants and/or their employees and/or agents, MARY MARSH suffered physical,
emotional, and psychological injuries, damages, pain, suffering and death. ln addition,
MARY MARSH suffered damages and incurred expenses and Defendants are liable for the
same.

WHEREFORE, Plaintiffs pray for the following:

(A) "Ihat they have a trial by jury;

(B) That costs be cast against the Defendants;

(C) The they be awarded special damages against the Defendants in an amount
to be proved at trial;

(D) That they be awarded general damages for the pain and suffering sustained
as a result ofDefendants’ negligence;

(E) That they be awarded punitive damages in an amount sufficient to deter
similar conduct in the future; and

(F) That they be awarded such other and further relief as this Court shall deem

appropriate

 

 

 

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This /\3 day of December, 2011.

THE EICHHOLZAI,JAW FIRM P.C.

cf

   
     

D VID S. EICHH L , ES .
State Bar No.502134 1
E. BLAKE DURHAM, ESQ.
State Bar No. 235548

530 Stephenson Avenue

Suite 200

Savannah, GA 31405
A’I"TORNEYS FOR PLAINTIFF

 

 

 

 

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AFEioAviT or vickie areasz RN. cth

ViCKlE G|BBS, RN, CLNC, who, after being duly sworn before an officer
authorized to administer oaths, deposes and states as follows:

1. l am over the age of 18, competent to make this Affidavit, and give this
Affidavit of my own personal knowledge. .

2. l am a registered nurse licensed to practice in Georgia (# RN117387) and l
was so at the times at which the negligent acts described herein occurred. l am also a
certified legal nurse consultant (Ceft. # 615841). A true and correct copy of my
Curriculum Vitae is attached hereto`as Exhibit "1". l

3. The statements in this Affidavit are based on my personal knowledge,
education, training, experience, qualifications, and the medical records of l\/iary ivlarsh.

4. ' Through my education, training and experience, l am familiar with the
standard of care, skill and diligence ordinarily exercised by nurses and other providers
when providing medical care similar to that being related to i\/lary i\/larsh while a patient
at Golden Living Nursing Home , beginning in November 2009.

5. l have had actual professional knowledge and experience in the medical
field of nursing for at least three (3)' ofthe last five (5) years immediately preceding this
opinion. v

6. Based upon my review and examination as described herein, it is my
opinion'that, within a reasonable degree of medical probability,~ Golden Living Nursing
Home, and its agents, employees and/or contractors, deviated from the appropriate

standard of medical care with regard to the medical care rendered to i\/lary Marsh.

 

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v !

7. Specifica|ly, the staff at Golden Living Nursing Home violated the
standard of care by failing to plan and implement proper skin care for i\/ls. i\/larsh. l\/ls.
i\/iarsh developed, among other medical complications and conditions, multiple
decubitus ulcers and endured severe pain, suffering anguish, shock, vvo_rry,‘ and, sepsis,,
and eventually death. Additi_onal|y, ivis. Nlarsh was'at a high risk for further skin
breakdown, yet, preventative measures were not implemented to prevent further skin
breakdown.

8. Thus, it is my opinion, within a'reasonable degree of medical probabllity,
based upon the materials reviewed, that the staff at Golden Living Nursing Home's
violations of the standard of care proximately and directly caused and/or multiple
decubitus ulcers and endured severe pain, suffering, anguish, shock, worry, and, death.

9. The direct result of these deviations from the usual standard of medical
care resulted in serious injury to,the Plaintiff.

10.' The opinions expressed herein are the product of reliable principles and
methods developed as a result of my actual professional knowledge, experience,
education and training in the field of nursing and community residential care facility
care. Furthermore, l applied said principles and methods reliably to the facts l reviewed

~ in this case in reaching the opinions expressed herein.’

11. This Affidavit is given in conformance with the provisions of O.C.G.A. § 9-

ll-Si.l. This Affidavit is neither a summary of all of my opinions that l may hold in this

matter. This Affidavit is not dispositive of all my opinions relative to this matter. l

 

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reserve the right to modify, add to, or to delete criticisms as additional information

becomes available

FURTHER AFFlANT SAYETH NOT.

WM €/Mr‘

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